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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

E | Original Plan
L] Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
(m] 4th Modified Plan (Indicate Ist, 2nd, ete. Modified, if applicable)
DEBTOR: Jose De Jesus Basilio JOINT DEBTOR: Iraida Fernandez CASE NO.: 16-21346
SS#: xxx-xx- 4785 SS#: xxx-xx-4118
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result ina .

partial payment or no payment at all to the secured creditor LJ Included [m] Not included

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set .

out in Section II [_] Included [m] Not included

Nonstandard provisions, set out in Section VIII [-] Included [m] Not included
Ir. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

 

 

 

1. $1,585.07 for months I to 23 ;
2. $4,458.04 for months 24 to 24
3. 3,765.69 for months 25 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [7] PRO BONO
Total Fees: $7000.00 Total Paid: $3500.00 Balance Due: $3500.00
Payable $114.31 /month (Months 1 to 23 )
Payable $870.78 /month (Months 24 to 24 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
Chapter 13 $3500; MMM $2500; (2)MTM $500

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

Ill. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [7] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

1. Creditor: Oewen Loan Servicing

 

 

Address: PO BOX 24738 Arrearage/ Payoff on Petition Date 26,000.00
| h, FL
West Palm Beach, Arrears $702.70 /month (Months 24 to 60 )
33416 —_
Regular Payment $630.37 /month (Months | to 23. )

 

Last 4 Digits of

 

 

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Account No.:

Other:

Regular Payments $1.676.47 /month (Months 24 to 60 )

 

[m] Real Property
[ [Principal Residence

Check one below for Real Property:

[m|Escrow is included in the regular payments

(m|Other Real Property

Address of Collateral:
300 NW 107th Ave Apt 101
Miami, FL 33172

|] Personal Property/Vehicle

[_]The debtor(s) will pay []taxes [insurance directly

Description of Collateral:

 

 

2. Creditor: Veripro Solutions, INC

 

Address: PO BOX 3244
Coppell, TX 75019

24,547.64
$323.61

Arrearage/ Payoff on Petition Date

Payoff Amount /month (Months 1

Payoff Amount $462.29

Last 4 Digits of
Account No.:

Other:

to 23)

 

/month (Months 24 to 60 )

 

{m] Real Property
[_ Principal Residence
[m|Other Real Property

Address of Collateral:
300 NW 107th Ave Apt 101
Miami, FL 33172

[_] Personal Property/Vehicle

Check one below for Real Property:

[_]Escrow is included in the regular payments

[_|The debtor(s) will pay [taxes L_Jinsurance directly

 

Description of Collateral:

 

 

 

B. VALUATION OF COLLATERAL: [7] NONE
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL

SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON

YOU PURSUANT TO BR 7004 AND LR 3015-3.
1. REAL PROPERTY: [a] NONE
2. VEHICLES(S): [ig] NONE
3. PERSONAL PROPERTY: [if] NONE
C. LIEN AVOIDANCE fii] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

distribution fom the Chapter 13 Trustee.
fa] NONE

E, DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution

fom the Chapter 13 Trustee.

["] NONE
[ii] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon

confirmation of this plan the automatic stay be terminated in rem as to the clebtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Last 4 Digits of Account No. Description of Collateral (Address. Vehicle. etc.)
8976 13989 SW 17 Terr Miami, FL 33175

Name of Creditor
Caliber Home Loans

 

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Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Laguna Club East 0101 300 NW 107 Ave Unit 101 Miami, FL 33172

2. Condominium

Santander Consumer USA 6701 2015 Nissan Murano 12,000 miles

> Value Based on CarMax

vin 5NIAZ2MG8FN248288

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [i] NONE
B. INTERNAL REVENUE SERVICE: [ii] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [lf] NONE
D. OTHER: [lf] NONE

 

V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $448.24 /month (Months 1 to 23_)
Pay $300.00 /month (Months 24 to 24 )
Pay $547.66 /month (Months 25 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [7] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: — [il] NONE
*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority creditors
pursuant to 11 U.S.C. § 1322.
Vi. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in
this section shall not receive a distribution from the Chapter 13 Trustee.

fl] NONE
VII. INCOME TAX RETURNS AND REFUNDS: [7] NONE

["] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.

(@] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

["] Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

VI. NON-STANDARD PLAN PROVISIONS [ii] NONE

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

/s/ Jose De Jesus Basilio Debtor September 21, 20 Ba /s/ Iraida Fernandez Joint Debtor September 21, 20 5g
Jose De Jesus Basilio Date Iraida Fernandez Date
/s/ Julio C. Marrero, Esq. September 21, 2018

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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